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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   THE PEOPLE OF THE STATE OF                                         No. C 17-06011 WHA
                                                                         10   CALIFORNIA,                                                        No. C 17-06012 WHA

                                                                         11                  Plaintiff,
United States District Court




                                                                                v.                                                               REQUEST FOR COMMENT
                               For the Northern District of California




                                                                         12
                                                                         13   BP P.L.C., et al.,

                                                                         14                  Defendants.
                                                                                                                     /
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                                                                         16          Having reviewed defendants’ motions to dismiss, the Court notes that defendant Royal

                                                                         17   Dutch Shell plc has moved to dismiss under FRCP 12(b)(5) for lack of sufficient service of

                                                                         18   process (Dkt. No. 169). By MARCH 28 AT NOON, all parties shall advise whether it would be

                                                                         19   best to resolve Royal Dutch Shell’s motion challenging service first, and, if it succeeds, whether

                                                                         20   resolution of all other pending motions should be delayed until any snafu in service is cured.*

                                                                         21          In addition, defendants ConocoPhillips Company and Exxon Mobile Corporation set

                                                                         22   their respective motions to dismiss for hearing on April 26 (Dkt. Nos. 165, 168). As stated in

                                                                         23   the Court’s March 1 order, a hearing date on defendants’ motions to dismiss will be set by the

                                                                         24   Court. The hearings currently set for April 26 are accordingly VACATED.

                                                                         25          IT IS SO ORDERED.

                                                                         26
                                                                         27   Dated: March 23, 2018.
                                                                                                                                        WILLIAM ALSUP
                                                                         28                                                             UNITED STATES DISTRICT JUDGE


                                                                              * All docket numbers herein refer to the docket in Case No. C 17-6011 WHA.
